            Case 1:21-cr-00312-JEB Document 36 Filed 05/28/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 1:21-cr-00312-JEB
                 v.                           :
                                              :
ELIZABETH ROSE WILLIAMS                       :
                                              :
                        Defendant.            :


            STIPULATION REGARDING RETURN OF DIGITAL DEVICES AND
                    ELECTRONICALLY STORED INFORMATION

       The United States of America and Defendant Elizabeth Rose Williams (“Defendant”)

hereby agree and stipulate as follows:

                                           RECITALS

       1.        On or about March 23, 2021, pursuant to a court-authorized search warrant in Case

No. SA: 21-mj-00305 in the Western District of Texas, federal agents seized certain digital devices

and electronically stored information from Defendant’s residence and/or person.

       2.        Defendant has requested the return of the following specified digital devices and

electronically stored information (the “Digital Media”):

             •   A black iPhone cellular telephone obtained from Defendant’s person; and

             •   An Apple laptop with world case and charger obtained from bedroom floor.

       3.        The Government has created an exact and accurate image (the “Image”) of each of

the Digital Media specified in paragraph 2 by performing an extraction for the purpose of searching

the Image.




                                                  2
             Case 1:21-cr-00312-JEB Document 36 Filed 05/28/21 Page 2 of 3




        4.      The Government intends to use materials discovered as a result of its search(es) as

evidence in the pending and ongoing investigation and prosecution including, possibly,

introducing those materials into evidence at trial or other proceedings.

                                         STIPULATION

        Accordingly, the parties AGREE and STIPULATE as follows:

        1.      The Images are accurate duplicates of the Digital Media and were created using

reliable methods, and Defendant waives the right to object to the admissibility of the Images of

the Digital Media and the right to question witnesses or make arguments concerning the reliability

of the methods used to create the Images.

        2.      The Government will retain, and upon request will provide to defense counsel, the

Images extracted from the Digital Media.

        3.      The Digital Media will be returned to either Defendant or defense counsel, as

requested and arranged by defense counsel.

        4.      The Government will retain the Images of the Digital Media, including all evidence

thereon, for use at trial and any other proceedings in this matter.

        5.      The Images of the Digital Media and/or any other copies are “admissible [into

evidence] to the same extent as the original,” within the meaning of Federal Rule of Evidence

1003.

        6.      The Government may continue to examine the Images for materials identified in

the Search Warrant consistent with the terms of the Search Warrant.




                                                  3
            Case 1:21-cr-00312-JEB Document 36 Filed 05/28/21 Page 3 of 3




       7.      Defendant retains the right to challenge the Search Warrant and move to suppress

the Images of the Digital Media pursuant to Fed. R. Crim. P. 41(h).

       So stipulated.

                                            Respectfully submitted and agreed,


                                            CHANNING D. PHILLIPS
                                            ACTING UNITED STATES ATTORNEY
                                            D.C. Bar Number 415793



Date: 05/28/2021             By:
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